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Via ECF Filing
Honorable Judge Valerie Caproni                                            January 9, 2024
SDNY United States Courthouse
40 Foley Square, Room 240
New York, NY 10007

               Re: Claudio Darezzo v. Recreational Plus Lev Inc. and 84 Hoyt LLC.
                   Case No.: 1:23-cv-09090-VEC

Dear Honorable Judge Valerie Caproni:

       I was recently engaged by the Defendant 84 Hoyt LLC in the above-entitled action and request an extension
of time to February 9, 2024 in order to respond to the Plaintiff’s Complaint. The original due date to file a response
was December 22, 2023. I have contacted the Plaintiff’s counsel and they have consented to this extension. I
respectfully request the Court grant this extension of time. Although I currently don’t represent the tenant,
Recreational Plus Lev Inc., I request the Court extend their time to respond as I am hopeful they will contact me
for representation during this time extension.

       This is the first extension request in this matter. I thank your honor for the time taken to review this
request.


                                                                  Respectfully submitted,

                                                                     /s/ Mitchell Segal
                                                                  ______________________
                                                                      Mitchell Segal
